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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
      Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                       Filed: July 14, 2017




Ms. Rebecca Leah Strauss
Miller Johnson
100 W. Michigan Avenue
Suite 200
Kalamazoo, MI 49007

                Re: Case No. 17-1078, Todd Courser v. Keith Allard, et al
                    Originating Case No. : 1:16-cv-01108

Dear Counsel,

  The Court issued the enclosed Order today in this case.

                                       Sincerely yours,

                                       s/Roy G. Ford
                                       Case Manager
                                       Direct Dial No. 513-564-7016

cc: Mr. Matthew S. DePerno
    Mr. Thomas Dorwin

Enclosure
Case 1:16-cv-01108-GJQ-PJG ECF No. 139 filed 07/14/17 PageID.4880 Page 2 of 3


                                          No. 17-1078

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                                                                    FILED
                                                                               Jul 14, 2017
TODD COURSER,                                           )                 DEBORAH S. HUNT, Clerk
                                                        )
       Plaintiff-Appellant,                             )
                                                        )
v.                                                      )                 ORDER
                                                        )
KEITH ALLARD, et al,                                    )
                                                        )
       Defendants,                                      )
                                                        )
VINCENT KRELL,                                          )
                                                        )
       Defendant-Appellee.                              )
                                                        )


       Before: NORRIS, GIBBONS, and SUTTON, Circuit Judges.


       Plaintiff Todd Courser appeals the dismissal with prejudice of his claims against

Defendant Vincent Krell. Krell moves to dismiss the appeal for lack of jurisdiction. Courser

opposes the motion to dismiss.

       Courser filed in the district court a notice of voluntary dismissal without prejudice of all

of his claims in this action under Federal Rule of Civil Procedure 41(a)(1)(A)(i). On December

19, 2016, the district court held that the Rule 41(a)(1)(A)(i) dismissal was not effective with

respect to Krell because he had previously filed a motion for summary judgment. The district

court construed Courser’s motion as a motion for voluntary dismissal by court order under Rule

41(a)(2). The district court ordered the claims against Krell dismissed with prejudice and the

case closed based on Courser’s Rule 41(a)(1) motion. Krell argues that the December 19 order is
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                                           No. 17-1078
                                               -2-

not a final, appealable judgment because the dismissal without prejudice did not resolve the

claims against the other defendants.

       Pursuant to Hicks v. NLO, Inc., 825 F.2d 118, 120 (6th Cir. 1987), a dismissal without

prejudice of all remaining claims in an action, with the approval of the court, is a final judgment

that permits a party to appeal a prior, involuntary adverse ruling. The Hicks court held “that

plaintiff’s dismissal with the concurrence of the court of the only count of her complaint which

remained unadjudicated imparted [finality] to the District Court’s earlier order granting summary

judgment.” Id.

       Krell relies on cases from other circuits holding that orders dismissing some claims with

prejudice and others without prejudice are not final, appealable orders.         These decisions,

however, are contrary to the holding of Hicks. Hicks is binding authority that should not be

overruled in the absence of an inconsistent decision by the Supreme Court or an en banc decision

of this court. See United States v. Elbe, 774 F.3d 885, 891 (6th Cir. 2014); Salmi v. Sec’y of

Health & Human Servs., 774 F.2d 685, 689 (6th Cir. 1985).

       Accordingly, the motion to dismiss is DENIED.

                                             ENTERED BY ORDER OF THE COURT




                                             Deborah S. Hunt, Clerk
